Case 8:15-cv-01768-JLS-DFM Document 1-1 Filed 10/30/15 Page 1 of 9 Page ID #:5




Exhibit A
          Case 8:15-cv-01768-JLS-DFM Document 1-1 Filed 10/30/15 Page 2 of 9 Page ID #:6
                                                                                                                                                         SUM-100
                                                SUMMONS                                                                     FOR COURT USE ONLY
                                                                                                                        {SOLO PARA USO DE LA CORTE)
                         (CITACION JUDICIAL)
NOTICE TO DEFENDANT: PORTFOLIO RECOVERY
(AVISO AL DEMANDADO): ASSOCIATES, LLC, a Delaware                                                            ELECTRotiiCALLY FILED
                                                                                                               Superior Court of California.
 limited liability company, and DOES 1-l 0,                                                                        County of Orange
                                                                                                                09115/2015 at          09:45:00      fl.lvl
YOU ARE BEING SUED BY PLAINTIFF: Jacqueline Taylor,                                                            Clerk of the Superior Court
(LO ESTA DEMANDANDO EL DEMANDANTE):                                                                            By Rita strom. Deputy Clerk




 NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (..w~W.courtinfo.ca.govlselfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service.lfyou cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (..w~W.Iawhefpcalifornia.org), the California Courts Online Self-Help Center
 (..w~W.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of$10,000 or more in a civil case. The courfs lien must be paid before the court will dismiss the case.
 jAVISO! Lo han demandado. Sino responde dentro de 30 dfas. Ia corte puede decidir en su contra sin escuchar su versi6n. Lea Ia infonnaci6n a
 continuaci6n.
    Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta cilaci6n y papeles legales para presentar una respuesta por escrito en esta
 corte y hacer que se entregue una copia al demandante. Una carta o una llamada telef6nica nolo protegen. Su respuesta por escrito tiene que estar
 en fonnato legal correcto si desea que procesen su caso en Ia corte. Es posible que haya un fonnulario que usted pueda usar para su respuesfa.
 Puede encontrar estos fonnu/arios de fa corte y mas infonnaci6n en el Centro de Ayuda de las Cortes de California (Www.sucorte.ca.gov). en Ia
 bibfioteca de /eyes de su condado o en Ia corte que le quede mas cerca. Sino puede pagar Ia cuota de presentaci6n, pida a/ secrefario de fa corte
 que le de un formulario de exenci6n de pago de cuotas. Sino presenta su respuesta a tiempo, puede perder el caso por incumplimiento y Ia corte fe
 podra quitar su sue/do. dinero y bienes sin mas advertencia.
   Hay otros requisites legales. Es recomendable que /fame a un abogado inmediatamente. Sino conoce a un abogado. puede /lamar a un servicio de
 remisi6n a abogados. Sf no puede pagar a un abogado. es posible que cumpla con los requisites para obtener servicios legales gratuitos de un
 programa de servicios legales sin fines de Iuera. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services.
 (WW.v.lawhelpcalifornia.orgJ. en el Centro de Ayuda de las Cortes de Cafifornia, (\Nww.sucorte.ca.gov) o poniendose en contacto con fa corte o ef
 colegio de abogados locales. AVISO: Por ley, Ia corte tiene derecho a reclamar las cuotas y los costas exentos por imponer un gravamen sobre
 cualquier recuperaci6n de $10.000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de fa corte antes de que Ia corte pueda desechar ef caso.

The name and address of the court is:                                                                    CASE NUMBER:
                                                                                                         (Ntim···· ····~··-··
(EI nombre y direcci6n de Ia corte es):                                                                         30-2015-00809495- CU-P 0- CJ C
Suoeri.01: Court of C<j.lifornia. Countv of Oramze                                                                                                               -
700 CIVIc Center Dnve West                                                                                           Judge Fredenck P. Hom
Santa Ana, California 9270 l
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(EI nombre. Ia direcci6n y e/ mJmero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
The Law Offices of Joseph R. Manning, Jr.
4667 MACARTHUR BLVD STE 150, Suite 150, NEWPORT BEACH, CA 92660-8860                                                                  949-200-8755
DATE:        09/15,12015                                                       Clerk, by                                 ~H.Il   r. &\MY'.'\.            , Deputy
(Fecha)                             ALAN CARLSON, Clerk of the Court           (Secretario)                                      ~.                       (Adjunto)
(For proof of service of this summons. use Proof of Service of Summons (form POS-010).)                                          Rita Strom
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
                                           NOTICE TO THE PERSON SERVED: You are served
                                           1. D
 [SEAL]
                                                  as an individual defendant
                                           2.   D as the person sued under the fictitious name of (specify):


                                           3.   D    on behalf of (specify):

                                                under:   D    CCP 416.10 (corporation)                    D          CCP 416.60 (minor)
                                                         D    CCP 416.20 (defunct corporation)            D          CCP 416.70 (conservatee)
                                                         D    CCP 416.40 (association or partnership)     D          CCP 416.90 (authorized person)
                                                         D   other (specify):
                                           4.   D    by personal delivery on (date):
                                                                                                                                                              Pa e 1 of 1
 Form Adopted for Mandatory Use                                          SUMMONS                                                 Code of Civ1l Proeedure §§ 412.20, 465
   Judicial Council of California                                                                                                                  W\vw.courlinfo.ca.gov
  SUM-100 [Rev. July 1, 2009]                                                                                                                Wesdaw Doc & Form &aildero
      Case 8:15-cv-01768-JLS-DFM Document 1-1 Filed 10/30/15 Page 3 of 9 Page ID #:7
                                                                                                                                                           CM-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Namo, Slate Bar nvmbel, and scklrossJ:                                                 FOR COURT USE ONLY
-JosephR. Manning, Jr.                                         SBN: 223381
  The Law Offices of Joseph R. Manning, Jr.
  4667 MACARTHUR BLVD STE 150, Suite 150, NEWPORT BEACH,                                                        ElECTRotiiCAllY FilED
      TELEPHONEN0.:949·200-8755                             FAX NO.: 866-843-8308                                 Superior Court of California,
 ATTORNEY FOR rrvameJ:Jacaueline Tav lor                                                                              County of Orange
SUPERIOR COURT OF CALIFORNIA, COUNTY Of ORANGE
       siReer AooRess: 700 Civic Center Drive West                                                                 09/14.1'2015 at 01:44:09 Plvl
        MAtUNGAooRess:700 Civic Center Drive \Vest                                                                Clerk of the Superior Court
       ctrvANDZJPcooe:Santa Ana, 92701                                                                           By Kosal Thach, Deputy Clerk
           BRANCH NAME: Central Justice Center
     CASE NAME: Taylor v. Portfolio Recovery Associates, LLC

                                                                                         CASE NUMBER:
    CIVIL CASE COVER SHEET                           Complex Case Designation                         30-20 15-00809495- CU-P 0- CJC
m    Unlimited
     (Amount
                           Limited
                           (Amount
                                  D                       D
                                                       Counter       D Joinder                                                J
                                                                                                                               I
                                                                                         JUDGE:
     demanded              demanded is          Filed with first appearance by defendant           Judge Frederick P. Hom
     exceeds $25,000)      $25,000 or less)          (Cal. Rules of Court, rule 3.402)     DEPT:

                               Items 1-6 below must be completed (see mstructrons on page 2).
1. Check one box below for the case type that best describes this case:
      Auto Tort                                         Contract                                    Provisionally Complex Civil Litigation
      D     Auto (22)                                   D     Breach of contracVwarranly (06}       (Cal. Rules of Court, rules 3.400-3.403)
      D     Uninsured motorist (46)                     D     Rule 3.740 collections (09)           0     Antitrust/Trade regulation (03}
     Other PIIPD!WD (Personallnjury/PJoperty            D      Other collections (09)               D     Construction defect (10)
     Damage/Wrongful Death) Tort                        D      Insurance coverage (18}              0     Mass tort (40)
     D       Asbestos (04)                              D     Other contrael (37)                   0     Securities litigation (28)
     D       Product liability (24)                     Real Property                               0     EnvironmentaVToxic tort (30)
     D       Medical malpractice (45)                   D     Eminent domain/Inverse                D     Insurance coverage claims arising from the
      W      Other PVPDIWD (23)                               condemnation (14)                           above listed provisionally complex case
      Non-PI/PDIWD {Other) Tort                         0     Wrongful eviction (33)
                                                                                                          types {41)

     D       Business tort/unfair business practice (07)D     Other real property (26)              Enforcement of Judgment
     0       Civil rights (OS)                           Unlawful Detainer                          0     Enforcement of judgment (20)
     D       Defamation {13)                            D     Commercial (31)                       Miscellaneous Civil Complaint
     D       Fraud (16)                                 D      Residential (32)                     D     RIC0{27)
     0       Intellectual property (19)                 D      Drugs {38)                           0     Other complaint (not specified above) (42)
     0       Professional negligence (25)               Judicial Review                             Miscellaneous Civil Petition
      0      Other non-PVPD/WD tort (35)                D     Asset forfeiture (05)                 D     Partnership and corporate governance (21)
      ~loyment                                          D     Petition re: arbitration award (11}   0    Other petition (not specified above) (43)
      LJ     Wrongful termination {36)                  D     Writ of manda1e (02)
     0       Other employment {15)                      D     Other judicial review (39)
2. This case U is           W is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
   a.  D    Large number of separately represented parties       d.           D
                                                                      Large number of witnesses                        .
      b.D   Extensive motion practice raising difficult or novel e. D Coordination with related actions pending in one or more courts
            issues that will be time-consuming to resolve             in other counties, states, or countries, or in a federal court
   c.     D Substantial amount of documentary evidence           f. D Substantial postjudgment judicial supeiVision
3.    Remedies sought (check all that apply): a.[K] monetary b.             w
                                                                            nonmonetary; declaratory or inJunctive renet                       c. Opunitive
4.    Number of causes of action (specify):      0 e.
                                                  n
5.    This case D is         [K] is not a class action suit.
6.    If there are any known related cases, file and serve a notice of related case. (You mar. use form CM-0 t5.)
 Date:September 14,2015                                                                                  _   ;<;,
Joseph R. Manning.<TYPE
                    Jr. OR PRINT NAME)                                                l....----hd~;;;;:~~~~~~=::-----
                                                                       N TlCE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Fallure to file may result
    in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
  • Unless thls is a collections case under rule 3.740 or a complex case. this cover sheet wlll be used for statistical purposes onlv.
                                                                                                                                                            Pa e1 of2
Form Ad01>ted for Mandatory Use                         CIVIL CASE COVER SHEET                                cai.Rulesoteo...rt,rules2.~.3.220.3.4o~.403.3.740;
  Judicial counc~ of Cai~Ofnia                                                                                       Cal. Standards of Judicial Admimstralion, std. 3.10
  CM-QIO (Rev. July l. 2007)                                                                                                                      www.coustinlo.ca.gov
                                                                                                                                        Wastlaw Do<o &   F~    Build...-
         Case 8:15-cv-01768-JLS-DFM Document 1-1 Filed 10/30/15 Page 4 of 9 Page ID #:8

                                                                                       ElECTROtiiCAllV FILED
                                                                                         Superior Court of California,
                                                                                             County of Orange
          MANNING LAW OFFICE                                                              09114/2015 at 01:44:09 Pl11f
     1    A PROFESSIONAL CORPORATION                                                     Clerk of the Superior Court
          Joseph R. Manning, Jr., Esq. (State Bar No. 223381)                           By Kosal Thaoh,Deputy Clerk
     2    Michael J. Manning, Esq. (State Bar No. 286879)
          Phillip B. Nghiem, Esq. (State Bar No. 291525)
 3        4667 MacArthur Boulevard, Suite 150
          Newport Beach, CA 92660
 4        PH: (949) 200-8755
          FX: (866) 843-8308
 5

 6        Attorneys for Plaintiff: Jacqueline Taylor
 7
 8
                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                          COUNTY OF ORANGE- CENTRAL JUSTICE CENTER
10                                                                    30-20 16-00809~5- CU-P 0- CJ C
            Jacqueline Taylor,                          Case No.:
11                                                                                 Judge Frederick P. Hom

                       Plaintiff,                       COMPLAINT FOR VIOLATION OF THE
12                                                      TELEPHONE CONSUMER
            vs.                                         PROTECTION ACT
13
            PORTFOLIO RECOVERY
14          ASSOCIATES, LLC, a Delaware
            limited liability company, and DOES 1-
15          10,                                         JURY TRIAL DEMANDED
16                     Defendants.

17

18                     Plaintiff Jacqueline Taylor ("Taylor" or "Plaintiff'), makes this complaint against
19
          Portfolio Recovery Associates, LLC ("PRA" or "Defendant") and Does 1 to 10 (collectively,
20
          "'Defendants").
21
                                                INTRODUCTION
22

23                1.   Plaintiff, through her attorneys, brings this action to challenge the actions of

24        efendant for calling her wireless cellular telephone multiple times without her prior express

25        onsent and without emergency purpose by using an automatic telephone dialing system (ATDS).
26

27
                                                 COMPLAINT
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                                                        1
     Case 8:15-cv-01768-JLS-DFM Document 1-1 Filed 10/30/15 Page 5 of 9 Page ID #:9




             2.     The Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq., ("TCPA") was

 2    esigned to prevent calls like the ones described within this complaint, and to protect the privacy

 3    f citizens like Plaintiff. "Voluminous consumer eomplaints about abuses of technology-for

 4    xample, computerized calls dispatched to private homes-prompted Congress to pass the
 5
      CPA." Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).
 6
              3.    fu enacting the TCP A, Congress intended to give consumers a choice as to how
 7
      reditors and telemarketers may call them, and made specific findings that "[t]echnologies that
 8
 9   night allow consumers to avoid receiving such calls are not universally available, are costly, are

10    nlikely to be enforced, or place an inordinate burden on the consumer. TCPA, Pub.L. No. 102-
11
      43, § 11. Toward this end, Congress found that:
12
                    (bJanning such automated or prerecorded telephone calls to the home, except when
13                  the receiving party consents to receiving the call or when such calls are necessary in
                    an emergency situation affecting the health and safety of the consumer, is the only
14                  effective means of protecting telephone consumers from this nuisance and privacy
15                  invasion.

16    Id. at § 12 {emphasis added); see also Marin v. Leading Edge Recovery Solutions. LLC, 2012

17    WL 3292838, at *4 (N.D. Ill. Aug. 10, 2012) (citing Congressional findings on TCPA's
18
      purpose).
19
              4.    Congress also specifically found that "the evidence presented to the Congress
20
      ndicates that automated or prerecorded calls are a nuisance and an invasion of privacy, regardless
21

22    fthe type of call ... " Id. at§§ 12-13. See also, Mims, 132 S.Ct. at 744 (emphasis added).

23            5.    As Judge Easterbrook of the Seventh Circuit recently explained in a TCPA case
24
      egarding calls similar to this one:
25
             The Telephone Consumer Protection Act . . . is well known for its provisions limiting
26           junk-fax transmissions. A less-litigated part of the Act curtails the use of automated

27
                                               COMPLAINT
28
                                                      2
     Case 8:15-cv-01768-JLS-DFM Document 1-1 Filed 10/30/15 Page 6 of 9 Page ID #:10




             dialers and prerecorded messages to cell phones, whose subscribers often are billed by the
             minute as soon as the call is answered-and routing a call to voicemail counts as
 2           answering the call. An automated call to a land1ine phone can be an annoyance; an
             automated call to a cell phone adds expense to annoyance.
 3
                                                     PARTIES
 4

 5           6.     Plaintiff Jacqueline Taylor is a natural person residing in California. Plaintiff is, and

 6    at all times mentioned herein was, a citizen and resident of the State of California, and therefore

 7    and was a "person'' as defined by 47 U.S.C. § 153(39).
 8
              7.    Defendant Credit Protection Association, L.P. is a Texas limited partnership with
 9
      an address of 13355 Noel Road, Dallas, Texas, 75240. CPA collects debts from debtors in the
10
      state of California and is a debt collector.
11
12            8.    Defendant) is and at ali times mentioned herein was, a corporation and is a

13    "person," as defined by 4 7 U.S.C. § 153(39).
14
                                            JURISDICTION AND VENUE
15
              9.    This Court may exercise jurisdiction over this case and these parties under Code of
16
      Civil Procedure § 41 0.1 0. This is a cowt of general jurisdiction, and the amount in controversy
17

18    exceeds this Court's jurisdictional minimum. Plaintiff is a California resident.

19            10.   Venue in this District is proper because Defendants' offensive acts occurred in this

20    District. Defendants caused telephone calls to be placed in this District to Plaintiff.
21
              11.   All allegations in this complaint are based on information and/or the documents and
22
      information currently available and in the hands of Plaintiffs attorneys, and are such that
23
      additionally evidentiary support and detail will be forthcoming after a reasonable opportunity for
24

25    further investigation or discovery.

26                                       FACTUAL ALLEGATIONS

27
                                                 COMPLAINT
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                                                        3
     Case 8:15-cv-01768-JLS-DFM Document 1-1 Filed 10/30/15 Page 7 of 9 Page ID #:11




              12.   Since on or about January of2015 to the present, Defendant and/or its agents began
 1

 2    calling Plaintiffs wireless cellular telephone.

 3            13.   On information and belief, Defendant called Plaintiff's cellular telephone looking

 4    for someone other than Plaintiff.
 5
              14.   Because Plaintiff has never owed a debt to Defendant, it did not have Plaintiffs
 6
      prior express consent to contact her on her cellular telephone.
 7
              15.   Defendant placed these calJs to Plaintiffs cellular telephone via an automatic
 8
 9    telephone dialing system.

10            16.   An A TDS is equipment that has the capacity to store or produce telephone numbers
11
      to be called, using a random or sequential number generator, and utilizes such equipment to dial
12
      such numbers. This definition includes systems that dial a flXed set of numbers from a list.
13
              17.   The calls to Plaintiff's cellular telephone were not for emergency purposes, as
14

15    Plaintiff believes that they were intended solely for debt collection activity.

16            18.   As a result of Defendant's harassing phone calls, Plaintiff is entitled to damages.

17                                          CAUSES OF ACTION
18
                                          FIRST CAUSE OF ACTION:
19
                                            VIOLATION OF TCPA
20
                                           (Against All Defendants)
21

22            19.    Plaintiff hereby incorporates by reference the allegations contained in all

23    preceding paragraphs of this complaint.
24
             20.     Defendants make outgoing calls to consumers and others in the regular course of
25
      its business. Defendants' telephone system uses an autodialer: i.e., when the telephone system
26
27
                                                COMPLAINT
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                                                        4
     Case 8:15-cv-01768-JLS-DFM Document 1-1 Filed 10/30/15 Page 8 of 9 Page ID #:12




      makes a call, it dials the numbers automatically, so that no human manually dials any telephone

 2    numbers.       Defendants' telephone system is capable of storing, producing, and dialing any

 3    telephone number, and is capable of storing, producing, and dialing telephone numbers

 4    automatically.     Defendants' telephone system otherwise constitutes an "automatic telephone
 5
      dialing system" under the meaning of 47 U.S.C. §277 (a)(l).
 6
               21.     Defendants violated 47 U.S.C. § 227(b)(l)(A)(iii) by placing non-emergency
 7
      telephone calls to Plaintiff ( 1) that were automatically dialed by Defendants' teleph011e system;
 8

 9    (2) made to Plaintiff's cellular telephone number; (3) without Plaintiffs express consent.

10             22.     Plaintiff seeks to recover statutory damages, as well as injunctive and equitable
11
      re1iefunder 47 U.S.C. §227(b)(3).
12
                                                   PRAYER
13
            WHEREFORE, Plaintiff respectfully requests that the Court grant Plaintiff the following
14

15    relief against Defendants:

16          a. Judgment against Defendants, and in favor of Plaintiff in the amount of $500 per

17             violation of the TCPA as proven at trial;
18
            b. Judgment against Defendants, and in favor of Plaintiff in the amount of $1 ,500 per
19
               willful violation ofthe TCPA as proven at trial;
20
            c. Equitable and injunctive relief, including injunctions enjoining further violations of the
21

22             TCPA;

23          d. An award of reasonable attorneys fees and costs; AND
24
            e. Such other and further relief as this Court may deem appropriate.
25
      Ill
26
27
                                                COMPLAINT
28
                                                       5
         Case 8:15-cv-01768-JLS-DFM Document 1-1 Filed 10/30/15 Page 9 of 9 Page ID #:13




                                       DEMAND FOR TRIAL BY JURY
      2
      3
           Dated: September 1'1,2015         By: _ _~~-----I...L-­
     4
                                                Joseph R.. Manning, Jr., Esq.
     5                                          Michael J. Mruming, Esq.
                                                Phillip B. Nghiem, Esq.
     6                                          Manning Law Office
     7                                          A PROFESSIONAL CORPORATION
                                                Attomey for Plaintiff, Jacqueline Taylor
     8

     9

 10

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 12
 13

 14

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25
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27
28                                          COMPLAINT
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